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 8                              UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTR4CT OF CALIFORNIA
10                            July 2010 Grand,              JU& 202 9 Jt~
11    UNITED STATES OF AMERICA,       ) Case                t~.
                                                )
12                        Plaintiff,            )       .IN12.Is;.:rM~N:r
                                                )   ~
13          v. 	                                ) 'Title 21, U.S.C., Sec. 841(a) (1) ­
                                                ) Distribution of Methamphetamine
14    SOTHANN' DAMLONG    I                     )
           aka "Tiny, 'I                        )
15                                              )
                          Defendant.            )
16
      ----------------------------) 

17          The grand jury charges:
18                                             Count 1
19          On or about September 4, 2009, within the Southern District of
20    California, defendant SOTHANN DAMLONG, aka \\Tiny,               11   did knowingly and
21    intentionally distributed, 5 grams and more, to wit: approximately
22    8.3   grams   of methamphetamine          (actual),     a    Schedule II Controlled
23    Substance ;    in       violation   of        Title    21,    United     States   Code,
24    Section 841 (a) (1) .
25    II
26    1/
27    //
28    II
      PJM:lml:San Diego
      5/19/11
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 1                                          Count 2
 2         On or about September 17, 2009, within the Southern District of
 3    California, defendant SOTHANN DAMLONG        I   aka "Tiny, I' did knowingly and
 4    intentionally distributed, 5 grams and morel to wit: approximately
 5    20.2 grams of methamphetamine          (actual)   I     a   Schedule II Controlled
 6    Substance;    in    violation    of     Title         21,   United   States   Code,
 7    Section 841 (a) (1) .
 8                                          Count 3
 9         On or about October 11 2009, within the Southern District of
10    California, defendant SOTHANN DAMLONG, aka "Tiny," did knowingly and
11    intentionally distributed, 5 grams and more, to wit: approximately
12    25.5 grams of methamphetamine          (actual),        a   Schedule II Controlled
13    Substance;    in    violation    of     Title         21,   United   States   Code,
14    Section 841(a) (1).
15                                          Count 4
16         On or about October 23, 2009/ within the Southern District of
17    California, defendant SOTHANN DAMLONG, aka "Tiny," did knowingly and
18    intentionally distributed, 5 grams and more, to wit: approximately
19    37.3 grams of methamphetamine           (actual) ,      a   Schedule II Controlled
20    Substance;    in    violation    of     Title         21/   United   States   Code/
21    Section 841 (a) (1) .
22    II
23    II
24    II
25    II
26    II
27    II
28    II
                                               2
     Case 3:11-cr-02029-JM Document 1 Filed 05/20/11 PageID.3 Page 3 of 3




 1                                             Count 5
 2          On or about November 18, 2009, within the Southern District of
 3    California, defendant SOTHANN DAMLONG, aka "Tiny," did knowingly and
 4    intentionally distributed, 5 grams and more,                 to wit: approximately
 5    25.8 grams of methamphetamine             (actual),    a   Schedule II Controlled
 6 Substancej          in   violation     of     Title     21,     Uni ted   States   Code,
 7    Section 841 (a) (1) .
 8          DATED: 	   May 20, 2011. 

 9                                                    A TRUE BILL: 

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11                                                    Foreperson
12    LAURA E. DUFFY
      United Sates Attorney
13
14    By:
15                             Attorney
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